Case 2:13-bk-29481-ER   Doc 38 Filed 10/12/17 Entered 10/12/17 09:46:28   Desc
                         Main Document    Page 1 of 3



  1   TIMOTHY J. YOO (155531)
      800 S FIGUEROA STREET, SUITE #1260
  2   LOS ANGELES, CA 90017
      Telephone: (310) 229-3361
  3   Telecopier: (213) 627-7194
      Email: tjytrustee@lnbyb.com
  4

  5
      Chapter 7 Trustee
  6

  7                        UNITED STATES BANKRUPTCY COURT

  8                        CENTRAL DISTRICT OF CALIFORNIA

  9                              LOS ANGELES DIVISION

 10

 11   In re                                  CASE NO. 2:13-BK-29481-ER

 12   LORENA CARMEN MARTIN,                  CHAPTER 7

 13                                          NOTICE OF UNCLAIMED DIVIDENDS
                        Debtor(s)            (FRBP 3011)
 14

 15        TO: CLERK OF THE UNITED STATES BANKRUPTCY COURT:

 16        Please find annexed hereto, Check No.5010, in the sum of

 17   $32,761.20, representing the total amount of unclaimed

 18   dividend(s) in the above-entitled debtor’s estate which will

 19   create a zero balance in the bank account. Said sum is paid over

 20   to you pursuant to Bankruptcy Rule 3011. A list of the name(s),

 21   address(es), and amount(s) to be paid to each person entitled to

 22   said unclaimed dividend is attached.

 23

 24   Dated: October 12, 2017

 25

 26                                 /s/ Timothy J. Yoo
                                    TIMOTHY J. YOO, Trustee
 27

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 29
Case 2:13-bk-29481-ER   Doc 38 Filed 10/12/17 Entered 10/12/17 09:46:28   Desc
                         Main Document    Page 2 of 3



  1   NO.     CLAIMANT                            CLAIMED AMOUNT           DIVIDEND

  2
      0        LORENA CARMEN MARTIN                  $32,761.20       $32,761.20
  3            2438 MAGDALENA DRIVE
               WEST COVINA, CA 91792
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        Case 2:13-bk-29481-ER                      Doc 38 Filed 10/12/17 Entered 10/12/17 09:46:28                                     Desc
                                                    Main Document    Page 3 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                               800 S FIGUEROA STREET, SUITE #1260, LOS ANGELES, CA 90017

A true and correct copy of the foregoing document entitled (specify): NOTICE OF UNCLAIMED DIVIDENDS (FRBP 3011)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
12, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

United States Trustee (LA), ustpregion16.la.ecf@usdoj.gov
MICHAEL E CLARK, Debtor Attorney, NOTICES@BLCLAW.COM
                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 12, 2017, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                           Debtor(s)
   The Honorable Ernest M. Robles                                          Lorena Carmen Martin
   United States Bankruptcy Court                                          2438 Magdelena Drive
   255 E. Temple Street, Rm 1560                                           West Covina, CA 91792
   Los Angeles CA 90012

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 20, 2017, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

October 12, 2017                      Linda Riess                                                   /s/Linda Riess
Date                                  Printed Name                                                  Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
